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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF VIRGINIA


                            Alexandria Division




  VERISIGN, INC.,

        Plaintiff,

  V.                                  Civil Action No. 1:14-cv-01749


  XYZ.COM, LLC and
  DANIEL NEGARI,

        Defendants.



                             Memorandum Opinion

        THIS MATTER comes before the Court on Defendants' Motion


  for Attorney Fees.

        Verisign, Inc. (^'Plaintiff") is a global business that

  provides internet domain names and internet security. XYZ.com,

  LLC and CEO Daniel Negari {"Defendants") also operate in the

  domain name industry. In December 2014, Plaintiff filed a

  federal lawsuit against Defendants, alleging a violation of the

  Lanham Act for false advertising. On November 20, 2015, this

  Court granted summary judgment to Defendants. Defendants then

  filed a motion for attorney fees, and Plaintiff appealed this

  Court's decision on summary judgment. This Court stayed these

  motions while the appeal was pending at the U.S. Court of

  Appeals for the Fourth Circuit. The Fourth Circuit affirmed the

  decision granting summary judgment to Defendants.
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